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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED sTATEs oF AMERICA
"' crim No. 17.232 (EGS)
MICHAEL T. FLYNN,

Defendant
S S REPOR

COMES NOW, the United States ofAmerica, by and through Special Counsel

 

Robert S. Mueller, III, and the defendant through his oounsel, and file this joint
status report to provide the Court with the current status of this matter.

1. On December 1, 2017, the defendant entered a guilty plea to an
Information charging the defendant with making false statements, in violation of 18
U.S.C. § 1001. Due to the status of the Special Counsel’s investigation, the parties
do not believe that this matter is ready to be scheduled for a sentencing hearing at
this time.

2. Accordingly, the parties respectfully request that they provide a joint

status report Within ninety days, no later than May 1, 2018. A proposed Order is

 

 

attached.
Respectfully submitted,
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R`GBERT s. MUELLER, m RoBERT K IQE:LNER
Special Counsel STEPHEN P. ANTHONY
BRANDON L. VAN GRACK Attorneys for Defendant

ZAINAB N. AHMAD
Senior Assistant Special Counsels

